                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION


KATY WOODSON,                                    )
4093 W. Grand                                    )
Springfield, Missouri, 65802                     )
                                                 )
       Plaintiff,                                )
                                                 )      Case No. 6:10-cv-03392-RED
       vs.                                       )
                                                 )
NCO FINANCIAL SYSTEMS, INC.,                     )
507 Prudential Road                              )
Horsham, PA 19044                                )
                                                 )
       Defendant.                                )

                                   NOTICE OF SETTLEMENT


       NOW COMES the Plaintiff, KATY WOODSON, by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the

next 30 days.

       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.


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                                    NOTICE OF SETTLEMENT



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                                    Respectfully Submitted,

                                    By: /s/ Adam C. Maxwell
                                    [ ] Adam C. Maxwell
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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served via ELECTRONIC

MAIL on December 3, 2010 upon the following:

Ross S. Enders, Attorney
Sessions, Fishman, Nathan & Israel, L.L.C.
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                                    By: /s/ Adam C. Maxwell
                                    Adam C. Maxwell




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                                 NOTICE OF SETTLEMENT



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